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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

                                           *
 BERRY, et al.                             * CIVIL ACTION NO. 2:10-cv-04049
                   Plaintiffs              *
                                           *
 versus                                    * JUDGE JAY C. ZAINEY
                                           *
 PAUL PASTOREK, et al.                     * MAG. JUDGE KAREN WELLS ROBY
                   Defendants              *
                                           *
 ******************************************************************************
                                       ORDER

         Considering the above and foregoing Ex Parte Motion to Expedite the Motion to

 Continue Hearing on Plaintiffs’ Motion for Class Certification and Motion for Extension of Time

 to File Response to the Motion for Class Certification filed by the State Defendants, Paul

 Pastorek, in his official capacity as the Louisiana State Superintendent of Education, the

 Louisiana Department of Education, and the Louisiana Board of Elementary and Secondary

 Education,

         IT IS HEREBY ORDERED that the
                                    the motion
                                        Motion to
                                               to continue hearing isonGRANTED.
                                                  Expedite Hearing      Plaintiffs' Please

Motion   for Class
  take notice  that Certification (#74) is GRANTED
                     the State Defendants’               insofar as
                                            Motion to Continue       the deadline
                                                                    Hearing          for filing
                                                                             on Plaintiffs’      an opposition
                                                                                              Motion    for
to the class certification motion is stayed pending the status conference with the Court on
  Class 30,
March        2011. A
         Certification  new
                       and
                      The    opposition
                            Motion
                          motion  tofor  deadline
                                        Extension
                                      expedite    ofand
                                               (#72)  is hearing
                                                     Time   to Filedate
                                                         therefore      will beto
                                                                    Response
                                                                     DENIED      selected
                                                                                asthe Motion
                                                                                   moot.     at the
                                                                                                 for status
                                                                                                     Class
                      conference with the Court. The motion to expedite (#72) is therefore DENIED
  Certification will as
                      come  for hearing before this Honorable Court on February 21, 2011, at 9:00
                         moot.

 a.m.
              Hello This is a Test
         New Orleans, Louisiana, this 18th           February
                                      ____ day of _______________, 2011.

                               ________________________________
                                  Honorable Judge Jay C. Zainey
